                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )       No. 21 CR 50024-2
       vs.                                  )
                                            )       Magistrate Judge Lisa A. Jensen
SIRREGINALD MCGUIRE                         )

                                      STATUS REPORT

       Per this Court’s April 4, 2022 order, counsel for the government and the defendant submit

the following status:

       Since the last status report, defense counsel has continued to review the discovery and

confer with the defendant. Defense counsel previously provided the defendant with a copy of the

proposed plea agreement. While defense counsel has previously met with the defendant, defense

counsel plans to do so again to discuss the discovery and the proposed plea agreement. The

parties request 60 days so defense counsel can continue to review the discovery and meet with the

defendant to discuss the discovery and the proposed plea agreement. Defense counsel reserves

the right to file pretrial motions. The parties agree to the exclusion of time under 18 U.S.C.

§ 3161(h)(7) through the next scheduled date.

Jointly submitted by:

/s/ Mark Byrd                                       6/6/2022
MARK BYRD                                           DATE
Attorney for SirReginald McGuire

/s/ Scott Paccagnini                                6/6/2022
SCOTT PACCAGNINI                                    DATE
Assistant United States Attorney
                        CERTIFICATE OF FILING AND SERVICE

       I, SCOTT PACCAGNINI, certify that on June 6, 2022, in accordance with Fed. R. Crim.

P. 49, Fed. R. Civ. P. 5, LR5.5, and the General Order on Electronic Case Filing (ECF), the

following document:

                                      STATUS REPORT

was served pursuant to the district court’s ECF system as the ECF filers.

                                                    / s / Scott Paccagnini________
                                                    SCOTT PACCAGNINI
                                                    Assistant United States Attorney
                                                    327 South Church Street, Suite 3300
                                                    Rockford, IL 61101
                                                    (815) 987-4444




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